               Case 2:24-cv-00045-AM Document 17 Filed 06/12/24 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   DEL RIO DIVISION

JAVIER CAZARES, Individually as                     §
Wrongful Death Beneficiary of J.J.C.,               §
Deceased Minor, et al.                              §
                     Plaintiffs,                    §
                                                    §
v.                                                  § Civil Action No. 2:24-cv-000045-AM
                                                    §
JUAN MALDONADO, et al.                              §
             Defendants.                            §

     UNOPPOSED MOTION OF DEFENDANT PEDRO “PETE” ARREDONDO FOR AN
                   EXTENSION OF THE DEADLINE TO FILE
               HIS ANSWER OR OTHER RESPONSIVE PLEADING

TO THE HONORABLE CHIEF JUDGE OF SAID COURT:

         COMES NOW Defendant Pedro “Pete” Arredondo (“Defendant Arredondo”) and,

pursuant to Fed. R. Civ. P. 6(b)(1)(A), submit this Unopposed Motion for Extension of his

Answer Deadline to file his answer or other responsive pleading, and respectfully shows the

Court the following:

                                               I.
                                            SUMMARY

         Defendant, for good cause, requests a thirty (30) day extension of time to file his answer

or other responsive pleading to Plaintiffs’ First Amended Complaint (Dkt. 2). If granted, the

new deadline would be July 24, 2024.

                                          II.
                            REASONS FOR EXTENSION OF TIME

         Defendant, for good cause, seeks a thirty (30) day extension to July 24, 2024, to file his

answer or other responsive pleading to Plaintiff’s Complaint. Numerous circumstances support

Defendant’s request for extension of time.



UNOPPOSED MOTION FOR EXTENSION OF ANSWER DEADLINE                                                     1
30144/766912
               Case 2:24-cv-00045-AM Document 17 Filed 06/12/24 Page 2 of 5




         The circumstances of Defendant’s counsel support this request for additional time as

Defendant’s lead counsel and co-counsel are out of town for a conference for a week and are

preparing for a jury trial in a Dallas County Court set to begin on June 25, 2024.

         Plaintiff will not be prejudiced by this request. This request is not made for the purposes

of delay, but so that justice might be done.

         A. Aftermath of Storms of May 28, 2024

         On May 28, 2024, severe storms with extremely high winds, large hail, and torrential rain

swept across North Texas. These storms caused an extreme power surge in the electrical system

of the residence of Defendant’s lead counsel Thomas P. Brandt. The damages to the home

caused by this surge rendered it uninhabitable for over a week. It was only just this week that Mr.

Brandt was able to return to the home. Between the time of the storm and the date that Mr.

Brandt could return to his residence, he was involved in numerous and lengthy meetings and

conferences with his home insurance company as they investigated and processed his claim and

conducted repairs to render the home habitable. This has affected the time that Mr. Brandt has

had to devote to responding to Plaintiffs’ request for a preliminary injunction.

         Counsel for Defendant Christopher Brandt was also affected by the storm of May 28,

2024. His car was totaled when a large tree branch broke and fell on the vehicle due to high

winds. The time that Christopher Brandt has had to devote to preparing a response to Plaintiffs’

First Amended Complaint has been impacted by his need to meet and negotiate with his

insurance representatives over the destruction of his vehicle.

         B. Pre-Existing Vacation and Legal Conference Plans

         Additionally, both Thomas P. Brandt and Chrisopher Brandt have for many weeks been

scheduled for a week of vacation and attendance at the Texas City Attorney’s Association’s



UNOPPOSED MOTION FOR EXTENSION OF ANSWER DEADLINE                                                  2
30144/766912
               Case 2:24-cv-00045-AM Document 17 Filed 06/12/24 Page 3 of 5




annual conference in Corpus Christi, Texas, the week of June 10-14, 2024. Neither of them will

be able to devote any substantive attention to preparing a response to Plaintiffs’ First Amended

Complaint during that time.

         Furthermore, counsel Christopher D. Livingston was on a pre-planned vacation the week

Defendant Arredondo was served and counsel Laura O’Leary has scheduled vacation days June

20-21, 2024.

         C. Additional Calendar Issues for Defendant’s Counsel

         Defendant Arredondo was served in three other matters for which answers need to be

prepared and filed:

                     •   Monica Gallegos v. Juan Maldonado, et al., United States District Court,
                         Western District of Texas, Del Rio Division, Cause No. 2:24-cv-000050-
                         AM - Defendant Arredondo’s Answer due June 21, 2024;
                     •   Arnulfo Reyes, et al v. Juan Maldonado, et al, United States District Court,
                         Western District of Texas, Del Rio Division, Cause No. 2:24-CV-00052-
                         AM – Defendant Arredondo’s Answer due June 21, 2024; and
                     •   Oscar Orona IANF of N.O., a Minor, et al v. Christopher Kindell, et al,
                         United States District Court, Western District of Texas, Del Rio Division,
                         Cause No. 2:24-CV-00049- AM – Defendant Arredondo’s Answer due
                         June 24, 2024.
         Furthermore, the Brandts have a trial scheduled to begin on June 25, 2024, in the matter

of Nam Khang Tran v. Irving ISD, County Court at Law No. 4, Dallas County, Texas, Cause No.

CC-22-05466-D.

                                               III.
                                           CONCLUSION

         This Unopposed Motion is not sought for the purpose of delay, but so that justice may be

accomplished.

         This brief extension will not prejudice any party.       Plaintiffs are unopposed to the

requested extension of time.


UNOPPOSED MOTION FOR EXTENSION OF ANSWER DEADLINE                                                  3
30144/766912
               Case 2:24-cv-00045-AM Document 17 Filed 06/12/24 Page 4 of 5




         WHEREFORE, PREMISES CONSIDERED, Defendant Pedro “Pete” Arredondo prays

that his Unopposed Motion be granted and that the deadline for him to file his Answer to

Plaintiffs’ First Amended Complaint be extended until July 24, 2024.

                                            Respectfully submitted,

                                            /s/Christopher D. Livingston
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                                            ATTORNEYS FOR DEFENDANT
                                            PEDRO “PETE” ARREDONDO


                             CERTIFICATE OF CONFERENCE

       On June 11, 2024, I conferred with Erin Rogiers, counsel for Plaintiffs, regarding this
motion and she indicated that Plaintiffs are unopposed to this motion.

                                            /s/ Christopher D. Livingston
                                            CHRISTOPHER D. LIVINGSTON




UNOPPOSED MOTION FOR EXTENSION OF ANSWER DEADLINE                                           4
30144/766912
               Case 2:24-cv-00045-AM Document 17 Filed 06/12/24 Page 5 of 5




                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing instrument has been served
to all parties of record in compliance with Rule 5 of the Federal Rules of Civil Procedure on the
12th day of June, 2024.

                                              /s/ Christopher D. Livingston
                                             CHRISTOPHER D. LIVINGSTON




UNOPPOSED MOTION FOR EXTENSION OF ANSWER DEADLINE                                                5
30144/766912
